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                       IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                       ----DIVISION


         Rhonda G. Jones, as Administratrix of the Estate of
         Beatrice Washington, deceased, and on behalf of the
         wrongful death beneficiaries of Beatrice Washington                   PLAINTIFF
                              NO. _________________________
         vs.

         Capital SeniorCare Ventures, LLC; Column Guaranteed LLC;
         SLC Properties, LLC; SLC Property Holdings, LLC; SLC
         Property Investors, LLC; EOR-ARK, LLC; VAJ LLC; SLC
         Operations Master Tenant, LLC; SLC Operations Holdings,
         LLC; Senior Living Communities of Arkansas, LLC; SLC
         Professionals, LLC flk/a SLC Professionals of Arkansas, LLC;
         SLC Professionals Holdings, LLC; ADDIT, LLC; Quality
         Review, LLC; John W. Dwyer; Capital Funding Group, Inc.;
         Capital Funding, LLC d/b/a Capital Funding Group; CSCV
         Holdings, LLC; Arkansas SNF Operations Acquisition, LLC;
         Arkansas Nursing Home Acquisition, LLC; Capital Finance, LLC;
         Premier Health and Rehabilitation, LLC; North Little Rock
         Holdings, LLC; Steve Hudgens, in his capacity as Administrator
         of Premier Health and Rehabilitation, LLC; and John Doe 1
         through 5, Unknown Defendants                                         DEFENDANTS


                                               COMPLAINT

                1.     Defendant Capital SeniorCare Ventures, LLC is a Delaware limited liability

         company that was organized on October 18, 2006, as a subsidiary of Capital Funding

         Group, Inc.    Effective July 1, 2009, Defendant Capital SeniorCare Ventures, LLC

         purchased from Beverly Enterprises-Arkansas, Inc. and affiliates of Beverly Enterprises-

         Arkansas, Inc., the real property and certain tangible and intangible personal property

         for 12 skilled nursing facilities pursuant to an Agreement for Sale of Nursing Home

         Properties dated September 22, 2008, as later amended and restated. Included among

         the 12 nursing facilities in the sale was the facility located at 3600 Richards Road, North

         Little Rock, Arkansas, then known as Golden LivingCenter - North Little Rock.            In
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               conjunction with the sale to Capital SeniorCare Ventures, LLC, the individual operating

               affiliates of Beverly Enterprises-Arkansas, Inc. entered into separate Operations

               Transfer Agreements for the transfer of the operating contracts and ongoing operations

               of the 12 facilities. Capital SeniorCare Ventures obtained HUD financing in the original

               principal amount of $61 ,021 ,300.00 for the purchase of the facilities. It then, through 12

               single purpose entities, collectively leased the facility properties to SLC Properties, LLC,

               a Delaware limited liability company, pursuant to a Master Lease and Security

               Agreement, with an initial annual minimum rent of $7,000,000. CSCV Arkansas Realty,

               LLC, a subsidiary of Capital Funding Group and the sole member of each of the 12

               single purpose landlord entities, signed the Master Lease and Security Agreement on

               the Landlord's behalf.     The agent for service of process for Defendant Capital

               SeniorCare Ventures, LLC is HIQ Corporate Services, Inc., 3500 South Dupont

               Highway, Dover, Delaware 19901.

                      2.     Defendant Column Guaranteed UC is a Delaware limited liability

               company that provided the HUD financing for Capital SeniorCare Ventures, LLC's

               purchase of the Beverly Enterprises-Arkansas, Inc. facilities, including the facility

               located at 3600 Richards Road, North Little Rock, Arkansas, then known as Golden

               Living Center- North Little Rock. Defendant Column Guaranteed, LLC is defined as

               the "Senior Lender" under the Master Lease and Security Agreement. Pursuant to the

               Master Lease and Security Agreement, Column Guaranteed LLC exercised consistent

               oversight of the acquired facilities in the form of weekly and monthly reporting and

               monitoring of documents such as financial reports, budgets, licenses, surveys,

               inspections, and notices of violations of state, federal, and local regulations. The agent


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         for service of process on Defendant Column Guaranteed LLC is Corporation Service

         Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

               3.     Defendant SLC Properties, LLC, Tenant under the Master Lease and

         Security Agreement, is a Delaware limited liability company that was organized on

         October 20, 2008. During all relevant times hereto, Jerry Kemper served as the sole

         Manager of Defendant SLC Properties, LLC.    Defendant SLC Properties, LLC is wholly

         owned by Defendant SLC Property Holdings, LLC, a Delaware limited liability company

         also organized on October 20, 2008. 100% of the membership interests in Defendant

         SLC Property Holdings, LLC is owned by Defendant SLC Property Investors, LLC, a

         Delaware limited liability company organized on October 20, 2008. Until September 1,

         2011, Defendant SLC Property Investors, LLC, was jointly owned by Defendant

         EOR-ARK, LLC, a Delaware limited liability company organized on October 14, 2008,

         and Defendant VAJ LLC, an Indiana limited liability company organized on December 3,

         2008. Effective September 1, 2011, all of the membership interest in Defendant SLC

         Property Investors, LLC was transferred to Arkansas SNF Operations Acquisitions, LLC,

         a Delaware limited liability company. The agent for service of process for Defendant

         SLC Properties, LLC is Corporation Service Company, 2711 Centerville Road, Suite

         400, Wilmington, Delaware 19808. The agent for service of process for Defendant SLC

         Property Holdings, LLC is Corporation Service Company, 2711 Centerville Road, Suite

         400, Wilmington, Delaware 19808. The agent for service of process for Defendant SLC

         Property Investors, LLC is The Corporation Trust Company, Corporation Trust Center,

         1209 Orange Street, Wilmington, Delaware 19801.




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                         4.      From July 1, 2009 until August 31, 2011, several layers of intertwined,

                wholly-owned entities operating under the common name of ·sLC," or Senior Living

                Communities, leased and/or operated the long term care facilities Capital SeniorCare

                Ventures, LLC acquired from Beverly Enterprises-Arkansas, Inc., including the facility

                located at 3600 Richards Road, North Little Rock, Arkansas, formerly known as Golden

                livingCenter - North Little Rock, and changed effective July 1, 2009 to Premier Health

                and Rehabilitation, LLC. Defendant EOR-Ark, LLC and Defendant VAJ LLC constituted

                the top tier of the layers of SLC entities, ultimately owning and controlling each facility.

                100% of the membership interests of Defendant EOR-Ark, LLC are owned by William

                and Pamela Smith. 100% ofthe membership interests of VAJ LLC are owned by Jerry

                Kemper. Defendant EOR-ARK, LLC may be served by or through its registered agent,

                Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE

                19808.        Defendant VAJ LLC may be served by or through its registered agent,

                Corporation Service Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana

                46204.

                       5.        On July 1, 2009, Defendant SLC Properties, LLC, as Sublandlord,

                subleased the property for the 12 SLC-operated facilities, including the facility located at

                3600 Richards Road, North Little Rock, Arkansas, to Defendant SLC Operations Master

                Tenant, LLC, a Delaware limited liability company, as Subtenant, pursuant to a Master

                Sublease Agreement dated June 30, 2009.

                      6.        That same date, Defendant SLC Operations Master Tenant, LLC

                subleased the 12 properties to the 12 operator holding companies which held the

                licenses to operate the long term care facilities pursuant to separate Sub-Sublease


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        Agreements by and between Defendant SLC Operations Master Tenant, LLC, as

        Sublandlord, and the individual operator holding companies, as Subtenants.      In this

        case, the relevant operator holding company was Defendant Premier Health and

        Rehabilitation, LLC.   Until September 1, 2011, Jerry Kemper was the sole Manager of

        Defendant SLC Operations Master Tenant, LLC and was also the sole Manager of the

        12 Subtenants, including Premier Health and Rehabilitation, LLC.        The agent for

        service of process for Defendant SLC Operations Master Tenant, LLC is Corporation

        Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

              7.     Until September 1, 2011, Defendant SLC Operations Holdings, LLC, a

        Delaware limited liability company, owned 100% of the membership interests in

        Defendant SLC Operations Master Tenant, LLC. Defendant Senior Living Communities

        of Arkansas, LLC, a Delaware limited liability company authorized to do business in the

        State of Arkansas, although not currently in good standing in Arkansas, owns 100% of

        the limited liability company membership interests in Defendant SLC Operations

        Holdings, LLC. The agent for service of process for Defendant SLC Operations

        Holdings, LLC is Corporation Service Company, 2711 Centerville Road, Suite 400,

        Wilmington, Delaware 19808.      Defendant Senior Living Communities of Arkansas,

        LLC's registered agent for service of process is Corporate Service Company, 300 South

        Spring Street, Suite 900, Little Rock, Arkansas 72201.

              8.     At all times relevant hereto, Defendant SLC Professionals Holdings, LLC,

        a Delaware limited liability company, owned 100% of the limited liability company

        membership interests in Defendant SLC Professionals of Arkansas, LLC, n/kla SLC

        Professionals, LLC. Until September 1, 2011, Defendant SLC Professionals Holdings,


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          LLC was owned 90% by EOR-Ark, LLC and 10% by VAJ LLC. On September 1, 2011,

          100% of the membership interest in SLC Professionals Holdings, LLC was acquired by

          Arkansas SNF Operations Acquisition, LLC pursuant to a Membership Interests

          Purchase Agreement. The agent for service of process for Defendant SLC

          Professionals Holdings, LLC is Corporation Service Company, 2711 Centerville Road,

          Suite 400, Wilmington, Delaware 19808.

                 9.    Defendant SLC Professionals, LLC, formerly known as SLC Professionals

          of Arkansas, LLC, is an Arkansas limited liability company that was organized on

          December 11, 2008. On July 1, 2009, Defendant SLC Professionals of Arkansas, LLC

          entered into individual Professional Service Agreements with the SLC-operated

          facilities, including Premier Health and Rehabilitation, LLC, to provide certain

          specialized health care and consulting services at the facilities, including operations,

          quality assurance, dietary services, reimbursement, business office services, marketing

          and business development, and physical plant maintenance. Pursuant to the 2009

          Professional Service Agreements, the facilities provided healthcare information to

          Defendant SLC Professionals of Arkansas, LLC, including factors critical to the welt-

          being of residents such as skin audits, weight loss and other quality of care indicators.

          In consideration for the consultant services, the facilities paid a consultant fee to

          Defendant SLC Professionals of Arkansas, LLC. The initial fee for this service paid by

          Defendant Premier Health and Rehabilitation, LLC, for example, was $11,750.00 per

          month. The initial term of the 2009 Professional Service Agreement was 5 years.

                10.    On January 1, 2011, Defendant SLC Professionals of Arkansas, LLC

          entered into new, individual Professional Service Agreements with the SLC-operated


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      facilities to provide certain specialized health care and consulting services at the

      facilities, including operations, quality assurance, dietary services, reimbursement,

      business office services, marketing and business development, and physical plant

      maintenance.     Pursuant to the 2011 Professional Service Agreements, the facilities

      provided healthcare information to Defendant SLC Professionals of Arkansas, LLC,

      including factors critical to the well-being of residents such as skin audits, weight Joss

      and other quality of care indicators. In consideration for the. consultant services, the

      facilities paid a consultant fee to Defendant SLC Professionals of Arkansas, LLC. The

      initial fee paid by Defendant Premier Health and Rehabilitation, LLC, pursuant to the

      2011 Professional Services Agreement was $15,468 per month. The initial term of the

      2011 Professional Service Agreement was one year.

             11.     As the President of Defendant SLC Professionals of Arkansas, LLC, David

      Merrell ("Merrell") oversaw the operations and reviewed the budgets for the long·term

      care facilities in Arkansas.   David Merrell has previously testified that his job duties

      included helping the facilities "accomplish what they needed to do day to day to run their

      buildings."   During times relevant hereto, Defendant SLC Professionals of Arkansas,

      LLC hired and employed two Regional Vice Presidents, who were responsible for hiring

      and supervising Directors of Nursing ("DONs") and Administrators to manage each of

      the SLC facilities, including Premier Health and Rehabilitation, LLC.           During times

      relevant hereto, the Regional Vice Presidents assisted the DONs and Administrators

      with education and training of staff at the facilities and were present at the facilities on a

      weekly basis. They held weekly conference calls with the administrators of the facilities

      and tracked spending at the facilities online, checking in with the administrator when



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                 numbers looked out of line.       They also spoke with family members in situations where

                 the family was not satisfied with the Administrator's resolution of issues with care or

                 treatment.

                         12.       During times relevant hereto, Merrell was the supervisor of the Regional

                 Vice Presidents and spoke with them on a daily basis about various operational issues.

                 David Merrell also participated in the hiring of DONs and Administrators for each facility.

                 Merrell met with the Administrators at each facility and trained them as to their duties.

                 During times relevant hereto, Defendant SLC Professionals of Arkansas, LLC charged

                 the facility Administrators with the duty of monitoring the operating budgets they were

                 given and staying within that budget. Merrell hired the consulting staff and other staff to

                 facilitate Defendant SLC Professionals of Arkansas, LLC's involvement in operation of

                 the facilities.    During times relevant hereto, staff at Defendant SLC Professionals of

                 Arkansas, LLC included four quality assurance ("QA'') nurses, who were hired to ensure

                 all policies and procedures, as well as state and federal guidelines for operation and

                 care and treatment of residents, were implemented. Defendant SLC Professionals of

                 Arkansas, LLC's QA nurses also were charged with making sure the DONs were

                 properly trained.       In their responsibility to oversee and ensure quality of care of

                 residents, the QA nurses conducted internal inspections, toured the facilities, and

                 reviewed charts and state surveys. The QA nurses reported to the Administrator and

                 DON if they found any areas that needed to be addressed at a facility.            They also

                 reported to the Reg ion aI Vice Presidents.

                        13.        During times relevant hereto, David Merrell reviewed the state surveys,

                 citing deficiencies in care at the facility, regarding any specific or recurring problems at a


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              facility.     The Regional Vice Presidents, who were notified when surveys were in

              progress and were consulted by the facility regarding the plan of correction that

              resulted, would give David Merrell notice of the surveys, depending on the severity of

              the deficiencies in care cited by the State. Merrell would involve the QA nurses fn the

              plans of correction for the facility, which were mandatory to bring a facility cited for

              deficiencies into compliance with the law.

                      14.      Defendant SLC Professionals, LLC flk/a SLC Professionals of Arkansas,

              LLC continues to provide consulting services to the facilities formerly operated by SLC.

              However, the membership interests of Defendant SLC Professionals Holdings, LLC, the

              100% owner of SLC Professionals of Arkansas, LLC, were sold to Defendant Arkansas

              SNF Operations Acquisition, LLC on September 1, 2011, pursuant to a Membership

              Interests Purchase Agreement, at which point the name of SLC Professionals of

              Arkansas, LLC was changed to SLC Professionals, LLC. David Merrill is no longer the

              President of Defendant SLC Professionals of Arkansas, LLC.         Daniel S. Baird and

              Brian K. Reynolds are currently the two managers of Defendant SLC Professionals,

              LLC.        The agent for service of process for Defendant SLC Professionals, LLC flk/a

              SLC Professionals of Arkansas, LLC is HIQ Corporate Services, Inc., 300 South Spring

              Street, Suite 900, Little Rock, Arkansas 72201.

                      15.     Defendant ADDIT, LLC is an Indiana limited liability company that was

              organized on August 14, 2008.        Its principal office is located at 9785 Crosspoint

              Boulevard, Suite 110, Indianapolis, Indiana. At the· time of its formation, Defendant

              ADDIT, LLC was 100% owned by William Smith.           Defendant ADDIT, LLC originally

              provided only financial services and back office support to long term care facilities. In



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                               2010, Defendant ADDIT, LLC's operations merged with Senior Vantage Point, LLC.

                               Following the 2010 merger, Defendant ADDIT, LLC began providing human resources,

                               purchasing and other business support services to the facilities, including Premier

                               Health and Rehabilitation, LLC. In addition, Defendant ADDIT, LLC was obligated to

                               advise the facilities on insurance risk management matters, process insurance claims,

                               and assist in the administration of the facilities' company compliance program. Upon

                               the Senior Vantage Point, LLC and ADDIT, LLC merger, Jerry Kemper became

                               employed with Defendant ADDIT, LLC as the general Manager and performed the same

                               function for the facilities that he previously performed for the facilities on behalf of

                               Senior Vantage Point, LLC.

                                      16.   On January 1, 2011, ADD IT, LLC entered into an Accounting and Support

                               Services Agreement with each of the SLC facilities, including Premier Health and

                               Rehabilitation, LLC, whereby ADDIT, LLC agreed to provide certain information

                               systems, accounting, bookkeeping, and support services for the facilities. In addition,

                               ADDIT, LLC agreed to provide human resources, insurance risk management, and

                               company compliance program services to the facilities.        The initial term of the

                               Accounting and Support Services Agreement was to be 5 years. Pursuant to the 2011

                               Accounting and Support Services Agreement with Premier Health and Rehabilitation,

                               LLC, Premier Health and Rehabilitation, LLC was to pay ADDIT, LLC a monthly

                               consulting fee in the amount of $14,554. The agent for service of process for Defendant

                               ADDIT, LLC is HIQ Corporate Services, Inc., 5217 Palisade Court, First Floor,

                               Indianapolis, Indiana 46237.




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                    17.    Defendant Quality Review, LLC is an Indiana limited liability company that

             was organized on October 30, 2009. At the time of its fonnation, Defendant Quality

             Review, LLC was 100% owned by William Smith.              According to William Smith,

             Defendant Quality Review, LLC was created to oversee the clinical side of the facilities'

             operations. On January 1, 2010, Defendant Quality Review, LLC entered into a Quality

             Assurance Consultant Agreement with each of the SLC-operated facilities, including

             Premier Health and Rehabilitation, LLC, whereby it agreed to provide "quality assurance

             consultation" to each facility. As a result, Defendant Quality Review, LLC took over the

             nurse consulting services Defendant SLC Professionals of Arkansas, LLC previously

             provided to the facilities.   The four quality assurance nurses originally employed by

             Defendant SLC Professionals of Arkansas, LLC became employed by Defendant

             Quality Review, LLC. In addition, Defendant Quality Review, LLC created the policies

             and procedures for nursing and caretaking at the SLC facilities in Arkansas, including

             Premier Health and Rehabilitation, LLC.

                    18.    Pursuant to the Quality Assurance Consultant Agreement, it was the job of

             the Defendant Quality Review nurse consultants to oversee the nursing practice at the

             facilities and to make sure the facilities consistently applied the federal and state

             guidelines. During times relevant hereto, Defendant Quality Review's nurse consultants

             also performed nursing audits of the facilities, including        Premier Health and

             Rehabilitation, LLC, to make sure all the guidelines were being followed. During times

             relevant hereto, the President of Defendant Quality Review traveled to the facilities

             often, and she reported directly to Jerry Kemper.




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                        19.    During times relevant hereto, William Smith, the sole owner of Defendant

                 Quality Review, LLC, personally visited the facilities twice a month. In addition, he held

                 monthly meetings with the administrators and directors of nursing of the facilities to

                 cover such items as new policies and procedures, financials, marketing, census, and

                 survey issues. ·He also met with the administrators in person, by phone, and he

                 corresponded with them by email, on such matters as census and financial statements.

                        20.    Through Defendant Quality Review, LLC's oversight and control, during

                 times relevant hereto, William Smith requested and received facility census, budgeting

                 and marketing information on a daily basis. During times relevant hereto, William Smith

                 was involved in assisting facilities cited for deficient care by the State of Arkansas with

                 getting back into compliance. Further, William Smith has acknowledged that he was the

                 one with the authority to direct the facilities to stop accepting new admissions if

                 Medicare and Medicaid stopped paying for new admissions based on bad surveys. The

                 agent for service of process for Defendant Quality Review, LLC is Corporation Service

                 Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana 46204.

                       21.    In the spring of 2011, William Smith and Jerry Kemper began a discussion

                 with Capital Funding Group, who owned the physical properties of 12 of the 16 long

                 term care facilities that the SLC group leased and operated in Arkansas, to turn the

                 leases back from the SLC group to Capital Funding Group. At the initial meeting to

                 discuss the transfer of the leases, William Smith, Jerry Kemper, and David Merrill were

                 present on behalf of the SLC group. Defendant John W. Dwyer and Brian Reynolds

                 were the primary principals present on behalf of Capital Funding Group.      Daniel Baird

                 of the Capital Funding Group was also present. Alan Zucarri, of Hamilton Insurance



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                 Agency, and a partner of Defendant Dwyer in the transfer from SLC to Arkansas SNF

                 Operations Acquisition, LLC, was also present.

                       22.    Defendant John W. Dwyer is a resident of the state of Maryland. In March

                 1993, Defendant John W. Dwyer founded Capital Funding Group, Inc., a named

                 defendant herein. During aU times relevant to this suit, Defendant John W. Dwyer was

                 the chairman, founding shareholder and senior underwriter of both the large mortgage

                 banking firm Capital Finance Bancorp, Inc., specializing in originating and servicing

                 FHA-insured construction and permanent loans for nursing homes, hospitals, assisted

                 living, board and care facilities and other income properties, and CFG Community Bank,

                 a full-service commercial bank. CFG Community Bank is the parent company of Capital

                 Funding, LLC and Capital Finance, LLC, both of whom are named defendants herein.

                 Further, CFG Community Bank is an affiliate of Capital SeniorCare Ventures, LLC, a

                 named defendant herein. Defendant John W. Dwyer holds a 100% ownership or

                 controlling interest of an Electing Small Business Trust (ESBT) known as The John W.

                 Dwyer 2011 ESBT. The John W. Dwyer ESBT holds a 100% ownership or controlling

                 interest in Capital Funding Group.    During all times relevant hereto, two entities

                 operated under the trade name uCapital Funding Group": 1) Defendant Capital Funding

                 Group, Inc. and 2) Defendant Capital Funding, LLC d/b/a Capital Funding Group.

                 Defendant John W. Dwyer may be served at his current residence.

                       23.   On July 28, 2011, Defendant EOR-ARK, LLC, Defendant VAJ LLC,

                 Defendant SLC Operations Holdings, LLC, Defendant Senior Living Communities of

                 Arkansas, LLC, 13 SLC operating entities collectively called the "Operator Holding

                 Companies," WHiiam Smith, Pamela Smith, and Jerry Kemper, as "Sellers," entered into


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        a Membership Interests Purchase Agreement with Defendant Arkansas SNF Operations

        Acquisition, LLC, as the "Purchaser," whereby Defendant Arkansas SNF Operations

        Acquisition, LLC agreed to purchase 100% of Sellers' equity and ownership interests in

        Defendant SLC Professionals Holdings, LLC, Dumas Holdings, LLC, SLC Property

        Investors, LLC, SLC Property Holdings, LLC, SLC Properties, LLC, Defendant SLC

        Operations Master Tenant, LLC, Glenwood Health & Rehabilitation, LLC, the Operator

        Holding Companies, Stonegate Villa Health & Rehabilitation, LLC, Hot Springs Health &

        Rehabilitation, LLC, Clarksville Community Health & Rehabilitation, LLC, and Dumas

        Acquisition, LLC, which made up the SLC group leasing and operating 16 long term

        care facilities in Arkansas, for an aggregate purchase price of $3,350,000. The closing

        date for the sale evidenced by the Membership Interests Purchase Agreement was

        September 1, 2011.

               24.    Defendant Capital Funding Group, Inc. is a Maryland corporation with its

        principal office located at 1422 Clarkview Rd., Baltimore, Maryland 21209. Defendant

        Capital Funding Group, Inc. is a mortgage banking firm that holds itself out as the

        leading provider of HUD/ FHA insured loans for healthcare. The services the company

        provides include permanent, acquisition and construction financing. Upon information

        and belief, Defendant Capital Funding Group, Inc., itself, or by or through its affiliates,

        including Defendant Capital Funding, LLC, provided the financing for Defendant

        Arkansas SNF Operations Acquisition, LLC's September 1, 2011, purchase of the 16

        SLC-operated long term care facilities. Pursuant to the terms of the Membership

        Interests Purchase Agreement, Defendant Capital Funding Group, Inc. agreed to

        guarantee $2,000,000 in promissory notes delivered by Defendant Arkansas· SNF



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     Operations Acquisition, LLC in connection with the purchase. The agent for service of

     process on Defendant Capital Funding Group, Inc. is HIQ Maryland Corporation, 715 St.

     Paul Street, Baltimore, Maryland 21202.

           25.    Defendant Capital Funding, LLC d/b/a Capital Funding Group is a

     Maryland limited liability company that was organized April 7, 2009, as a subsidiary of

     CFG Community Bank.      Its principal office is located at 1422 Clarkview Rd., Baltimore,

     Maryland 21209.      Defendant Capital Funding, LLC is a mortgage banking firm

     specializing and focusing solely on HUD loans made to the healthcare sector. During

     all relevant times hereto, Defendant Capital Funding, LLC provided permanent,

     acquisition and construction financing in the healthcare sector. Upon information and

     belief, Defendant Capital Funding, LLC, helped facilitate the September 1, 2011,

     purchase by Defendant Arkansas SNF Operations Acquisition, LLC of the 16 SLC

     operated long term care facilities in Arkansas. The agent for service of process on

     Defendant Capital Funding, LLC is HIQ Maryland Corporation, 715 St. Paul Street,

     Baltimore, Maryland 21202.

           26.    Capital Funding Group holds a ninety percent (90%} membership interest

     in CSCV Holdings, LLC, a named defendant herein. Defendant CSCV Holdings, LLC is

     a Maryland limited liability company organized on July 15, 2011.       Defendant CSCV

     Holdings, LLC's principal office is located at 1422 Clarkview Road, Baltimore, Maryland

     21209. Brian Reynolds holds the remaining ten percent (10%) membership interest in

     Defendant CSCV Holdings, LLC. During all times relevant hereto, Brian Reynolds, a

     resident of Maryland, has been the Managing Director of long Term Care at Defendant

     Capital Funding, LLC. In addition to overseeing long term care business development


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              for Defendant Capital Funding, LLC, during all relevant times hereto, Mr. Reynolds has

              overseen the skilled nursing equity investments through Capital SeniorCare Ventures,

              LLC, a named defendant herein. The agent for service of process on Defendant CSCV

              Holdings, LLC is HIQ Maryland Corporation, 715 St. Paul Street, Baltimore, Maryland

             . 21202.

                    27.    Defendant CSCV Holdings, LLC holds a 51% interest in Arkansas SNF

              Operations Acquisition, LLC, a named defendant herein. Defendant Arkansas SNF

              Operations Acquisition, LLC is a Delaware limited liability company organized on

              June 15, 2011. Defendant Arkansas SNF Operations Acquisition, LLC's principal office

              is located at 1422 Clarkview Road, Baltimore, Maryland, 21209. The agent for service of

              process on Defendant Arkansas SNF Operations Acquisition, LLC is HIQ Maryland

             Corporation, 3500 Dupont Highway, Dover, Delaware 19901.

                    28.    The remaining 49% interest in Defendant Arkansas SNF Operations

             Acquisition, LLC is owned and/or controlled by Arkansas Nursing Home Acquisition,

             LLC, a named defendant herein. Defendant Arkansas Nursing Home Acquisition, LLC

             is a Virginia limited liability company organized on July 22, 2011. Defendant Arkansas

             Nursing Home Acquisition, LLC's principal office is located at 4100 Monument Corner

             Drive, Suite 500, Fairfax, Virginia 22030.        Defendant Arkansas Nursing Home

             Acquisition, LLC is one hundred percent {100%) owned and/or controlled by Alan

             Zuccari, the President and CEO of Hamilton Insurance Agency, a fictitious name for

             Alan J. Zuccari, Inc. The agent for service of process on Defendant Arkansas Nursing

             Home Acquisition, LLC is Gentry Locke Rakes & Moore LLP, 10 Franklin Road, SE,

             Suite 800 SunTrust Plaza, P.O. Box 40013, Roanoke, Virginia 24022-0013.



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                    29.    Defendant Capital Finance, LLC is a Maryland limited liability company

             organized on October 4, 2005 as a subsidiary of CFG Community Bank. Its principal

             office is located at 1422 Clarkview Rd., Baltimore, Maryland 21209. During all times

             relevant hereto, Defendant Capital Finance, LLC provided accounts receivable-based

             financing to skilled nursing . facilities, including Defendant Premier Health and

             Rehabilitation, LLC, through revolving lines of credit secured by Medicare, Medicaid and

             Managed Care accourtts receivable. At all relevant times herein, moneys from the

             operation of Defendant Premier Health and Rehabilitation, LLC were swept into an

             account owned by Defendant Capital Finance, LLC as collateral for the working capital

             loan that Defendant Capital Finance, LLC provided. The agent for service of process on

             Defendant Capital Finance, LLC is HIQ Maryland Corporation, HIQ Corporate Services,

             Inc., 715 St. Paul Street, Baltimore, Maryland 21202.

                    30.   Since Defendant Arkansas SNF Operations Acquisition, LLC's acquisition

             of the SLC facilities on September 1, 2011, the quality assurance nurses formerly

             employed by Defendant Quality Review, LLC, have continued to perform the same

             services as employees of Defendant SLC Professionals of Arkansas, LLC, pursuant to a

             Continuing Consulting Agreement with the new ownership.

                   31.    Defendant Premier Health and Rehabilitation, LLC is a domestic limited

             liability company that was organized on December 8, 2008. During all times relevant

             hereto, Defendant Premier Health and Rehabilitation, LLC has held the license for a

             nursing facility located at 3600 Richards Road, North Little Rock, Pulaski County,

             Arkansas 72117. The Premier Health and Rehabilitation facility was one of the facilities

             purchased by Capital SeniorCare Ventures, LLC from Beverly Enterprises-Arkansas,


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     Inc. The facility was leased by the single purpose landlord entity 3600 Richards Road,

     LLC, an Arkansas limited liability company, to SLC Properties, LLC, and, until

     September 1, 2011, was operated by Premier HeaHh and Rehabilitation, LLC and the

     SLC entities named herein.

            32.    On September 1, 2011, Defendant Arkansas SNF Operations Acquisition,

     LLC    acquired from Defendant North little Rock Holdings, LLC, 100% of the

     membership interests in Defendant Premier Health and Rehabilitation, LLC,   pu~suant   to

     a Membership Interest Purchase Agreement/ Change of Ownership. That same date,

     Defendant Arkansas SNF Operations Acquisition, LLC entered into an Amended and

     Restated Limited liability Company Operating Agreement, whereby Defendant Premier

     Health and Rehabilitation, LLC's principal place of business was changed to 1422

     Clarkview Road, Baltimore, Maryland 21209. Pursuant to the Amended and Restated

     Operating Agreement, Defendant Premier Health and Rehabilitation, LLC is organized

     solely to sublease and operate the skilled nursing facility located at 3600 Richards

     Road, North Little Rock, Pulaski County, Arkansas 72117, commonly known as Premier

     Health and Rehabilitation.

           33.    The September 1, 2011, Amended and Restated Operating Agreement

     provides that Defendant John W. Dwyer, on behalf of Defendant Arkansas SNF

     Operations Acquisition, LLC, has the sole authority to appoint the managers of

     Defendant Premier Health and Rehabilitation, LLC, who, initially, are Daniel S. Baird

     and Brian K. Reynolds. Further, Defendant John W. Dwyer retains authority to remove

     or replace the managers "at any time for any reason."    AHhough the managers are

     given authority to bind and act on behalf of Defendant Premier Health and


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     Rehabilitation, LLC in the ordinary course of business, the managers may not, without

     the express written approval of Defendant John W. Dwyer, sell, transfer, acquire,

     finance, or encumber any interest in the facility, take any action that causes the

     · Company to exceed a budgeted expense by more than 5%, cause the Company to

     incur any debt or other obligation, make any loans, file a petition for bankruptcy, admit a

     new member, require additional capital contributions, merge or consolidate the

     Company, or pledge any membership interest of a member. The agent for service of

     process for Defendant Premier Health and Rehabilitation, LLC, is Corporation Service

     Company, 300 Spring Building, Suite 900, 300 South Spring Street, little Rock,

     Arkansas 72201.

           34.    Until September 1, 2011. Defendant North Little Rock Holdings, LLC, a

     Delaware limited liability company, was the 100% owner of Premier Health and

     Rehabilitation, LLC. At time material to this lawsuit, North Little Rock Holdings, LLC

     owned, operated, managed, controlled and/or provided services to Premier Health and

     Rehabilitation, LLC.   The causes of action made the basis of this suit arose out of

     Defendant North Little Rock Holdings, LLC's ownership, operation, management,

     control and/or services provided for Premier Health and Rehabilitation, LLC during the

     residency of Beatrice Washington. The agent for service of process for Defendant

     North little Rock Holdings, LLC is Corporation Service Company, 2711 Centerville

     Road, Suite 400, Wilmington, Delaware 19808.

           35.    Upon information and belief, Defendant Steve Hudgens, a resident of the

     State of Arkansas, was an Administrator of Premier Health and Rehabilitation, LLC at




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times during the residency of Beatrice Washington. Defendant Steve Hudgens may be

served at his last known address.

       36.    Defendants John Doe 1 through 5 are entities and/or persons, either

providing care and services to Beatrice Washington, or that are directly or vicariously

liable for the injuries of Beatrice Washington.   Plaintiff is currently unable to identify

these Unknown Defendants, despite diligent efforts, but may discover such identities

upon further investigation.   Said Defendants are named insofar as their acts and/or

omissions were negligent, tortious or otherwise wrongful with respect to the care,

treatment and services provided to or withheld from Beatrice Washington during her

residency at Defendants' facility.

       37.    Beatrice Washington was admitted on June 16, 2011, as a resident of

Defendant Premier Health and Rehabilitation, LLC.       Except for times when she was

hospitalized, Beatrice Washington remained a resident of the facility until November 15,

2011, when she was transferred to the emergency room at Baptist Health Medical

Center - North Little Rock, where she arrived without a pulse and asystole. Beatrice

Washington was pronounced dead at Baptist Health Medical Center - North Little Rock

at 7:07a.m. on November 15, 2011.

      38.     Rhonda G. Jones, the daughter of Beatrice Washington, and a resident of

Jacksonville, Pulaski County, Arkansas, is Administratrix of the Estate of Beatrice

Washington, deceased, pursuant to Order of Pulaski County Circuit Court, Probate

Division, Case No. 60PR-2011-2246, attached hereto as Exhibit A, and brings this

claim on behalf of the Estate of Beatrice VVashington, deceased, and on behalf of the

wrongful death beneficiaries of Beatrice Washington, pursuant to the Arkansas Survival



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                    of Actions Statute (Ark. Code Ann.§ 16-62-101) and the Arkansas Wrongful Death Act

                    (Ark. Code Ann.§ 16-62-102). Rhonda G. Jones brings this action against Defendants

                    claiming damages on behalf of Beatrice Washington arising out of care, services and

                    treatment by Defendants during the time that Beatrice Washington resided at Premier

                    Health and Rehabilitation, LLC.

                          39.    Whenever the term "Nursing Home Defendants" is utilized within this suit,

                    such term collectively refers to, and includes Capital SeniorCare Ventures, LLC;

                    Column Guaranteed LLC; SLC Properties, LLC; SLC Property Holdings, LLC; SLC

                    Property Investors, LLC; EOR-ARK, LLC; VAJ LLC; SLC Operations Master Tenant,

                    LLC; SLC Operations Holdings, LLC; Senior Living Communities of Arkansas, LLC; SLC

                    Professionals, LLC flk/a SLC Professionals of Arkansas, LLC; SLC Professionals

                    Holdings, LLC; ADDIT, LLC; Quality ReView, LLC; John W. Dwyer; Capital Funding

                    Group, Inc.; Capital Funding, LLC d/b/a Capital Funding Group; CSCV Holdings, LLC;

                    Arkansas SNF Operations Acquisition, LLC; Arkansas Nursing Home Acquisition, LLC;

                    Capital Finance, LLC; Premier Health and Rehabilitation, LLC; North Little Rock

                    Holdings, LLC; and unknown John Doe Defendants.

                          40.   Whenever the term "Administrator Defendant" is utilized within this suit,

                    such term refers to Steve Hudgens.

                          41.   Whenever the term "Defendants" is utilized within this suit, such term

                    collectively refers to, and includes, all named Defendants in this lawsuit, including

                    unknown John Doe Defendants.

                          42.   Jurisdiction and venue are proper in this Court.




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                    FACTUAL ALLEGATIONS REGARDING THE INJURIES INCURRED BY
                                    BEATRICE WASHINGTON

              43.     Beatrice Washington was admitted as a resident of Premier Health and

       Rehabilitation, LLC (sometimes referred to herein as "the facility") on June 16, 2011.

       Except for times when she was hospitalized, Beatrice Washington remained a resident

       of the facility until she died on November 15, 2011.

              44.     Beatrice Washington was admitted to Premier Health and Rehabilitation,

       LLC as a total care resident. She was dependent upon facility staff for assistance with

       activities of daily living, including bathing, oral hygiene, grooming, dressing, and

       transfers.

              45.    At all times during her residency, Beatrice Washington lacked sufficient

       understanding or capacity to make or communicate decisions to meet the essential

       requirements for her health and safety, and· she was incapable of conducting or

       managing her personal and business affairs. Thus, Beatrice Washington was "insane"

       as that term has been interpreted pursuant to Ark. Code Ann. section 28-65-1 01.

              46.     During her residency at the faality,       Beatrice Washington began

       experiencing stiffness in the fingers of both hands.

              47.    Beatrice Washington developed recurrent, or unresolved urinary tract

       infections during the month of July 2011, resulting in hospitalizations at Baptist Health

       Medical Center- North Little Rock and at UAMS.

             48.     On July ~ 3, 2011, Beatrice Washington was diagnosed with otitis.

             49.     On July 19, 2011, Beatrice Washington was found slumped over in the

       shower chair with her tongue protruding from her mouth, taking shallow, rapid breaths.




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      She was transferred to UAMS for several days due to her urinary tract infection. inner

      ear infection and/or dehydration with secondary acute kidney injury.

               50.   Beatrice Washington developed Stage II Buttock wounds by July 27,

      2011.

               51.   Throughout her entire residency, Beatrice Washington's blood sugar

      levels fluctuated, mostly in the upper 100s to mid-200s and occasionally spiking up over

      300. The facility did not provide for a diabetic diet Instead, they just cut desserts in

      half.

               52.   Beatrice Washington developed bilateral hand and right knee edema. By

      October 2011, Beatrice Washington's right arm became contracted and she complained

      of bilateral leg and right hand pain.

               53.   On November 15, 2011, Beatrice Washington's blood sugar was checked

      and noted to be 111. The RN on duty was notified of her status, but her physician was

      not.     Beatrice Washington became clammy, unresponsive, and developed difficulty

      breathing. She died later that morning at Baptist Health Medical Center- North little

      Rock.

               54.   The severity of the recurrent negligence inflicted upon Beatrice

      Washington while under the care of the Defendants at the facility accelerated the

      deterioration of her health and physical condition and resulted in the physical and

      emotional injuries, including, but not limited to those described herein.

               55.   The above-identified injuries, as well as the conduct specified below,

      caused Beatrice Washington to suffer loss of personal dignity, pain and suffering,

      mental anguish, degradation, disability, disfigurement, and emotional distress.


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                56.    In   surveys   and   inspections    conducted    for   Premier   Health     and

         Rehabilitation, LLC in 2011, during the residency of Beatrice Washington, the Arkansas

         Office of Long Term Care repeatedly cited the facility for deficiencies in the care,

         treatment and services provided to residents, including but not limited to failures to:

                       a)     Make sure that each resident who enters the nursing home without
                              a catheter is not given a catheter, and receive proper services to
                              prevent urinary tract infections and restore normal bladder function;

                       b)     Provide care by qualified persons according to each resident's
                              written plan of care;

                       c)     Make sure services provided by the nursing facility meet
                              professional standards of quality;

                       d)     Keep each resident's personal and medical records private and
                              confidential;

                       e)     Make sure menus meet the resident's nutritional needs and that
                              there is a prepared menu by which nutritious meals have been
                              planned for the resident and followed;

                       f)     Store, cook, and serve food in a safe and clean way;

                       g)     Make sure that the nursing home area is free from accident
                              hazards and risks and provides supervision to prevent avoidable
                              accidents;

                       h)    Have a program that investigates, controls and keeps infection from
                             spreading; and

                      i)     Provide housekeeping and maintenance services.

                57.   The extent to which the above citations directly included failures or

         deficiencies in the care, services and treatment provided to Beatrice Washington

         remains to be discovered. However, all of the above cited deficiencies establish that

         Defendants were on notice and aware of problems with resident care, including failures

         and deficiencies in care which caused the injuries alleged herein.


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                        CAUSES Of ACTION AGAINST NURSING HOME DEFENDANTS

                  58.     Based   upon   the   foregoing    allegations   regarding   Nursing   Home

         Defendants' control and management of Premier Health and Rehabilitation, LLC, and

         the injuries suffered by Beatrice Washington while she resided at the facility, Plaintiff

         pleads the following causes of action:

                  I.      Cause of action for ordinary negligence and failures in ordinary
                          duties of care imposed on a long-term care facility.

                  59.     Based upon the allegations of control, management and involvement in

         the operation of Premier Health and Rehabilitation, LLC outlined above, each of the

         Nursing Home Defendants, as well as their agents and employees, undertook duties of

         care to the residents at Premier Health and Rehabilitation, LLC, including Beatrice

         Washington.

                 60.      Based upon the state surveys of the facility and the assessments of

         Beatrice Washington alleged in the above paragraphs, it was foreseeable to each of the

         Nursing Home Defendants that harm would result to Beatrice Washington if Nursing

         Home Defendants did not provide at least the care equivalent that is required of a

         nursing home caring for a resident in a similar state of health, mental status and

         abilities.

                 61.     Among the duties Nursing          Home Defendants owed to          Beatrice

         Washington as the owners, operators, licensees, managers and consultants, agents

         and employees of Premier Health and Rehabilitation, LLC, were duties to use ordinary

         care to determine the mental and physical condition of Beatrice Washington, to furnish

         Beatrice Washington the care and attention reasonably required by her mental and

         physical condition, and to follow the orders and directions of Beatrice Washington's

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                 attending physician and care plan regarding her activities of daily living and ordinary

                 caretaking.

                         62.        While Beatrice Washington resided at Premier Health and Rehabilitation,

                 LLC, Nursing Home Defendants failed to assist Beatrice Washington with her activities

                 of daily living.

                         63.        While Beatrice Washington resided at Premier Health and Rehabilitation,

                 LLC, Nursing Home Defendants failed to assist Beatrice Washington with turning and

                 repositioning, and failed to use and maintain pressure relieving devices, to prevent or

                 relieve skin breakdown.

                        64.     While Beatrice Washington resided at Premier Health and Rehabilitation,

                 LLC, Nursing Home Defendants failed to provide adequate oversight to ensure a safe

                 environment.

                        65.     While Beatrice Washington resided at Premier Health and Rehabilitation,

                 LLC, Nursing Home Defendants failed to provide Beatrice Washington with fluids

                 sufficient to prevent dehydration and urinary tract infections.

                        66.     While Beatrice Washington resided at Premier Health and Rehabilitation,

                 LLC, Nursing Home Defendants failed to provide a sanitary environment and proper

                 hygiene to prevent the development and recurrence of infections, such as inner ear

                 infections and urinary tract infections.

                        67.     While Beatrice Washington resided at Premier Health and Rehabilitation,

                 LLC, Nursing Home Defendants failed to assist Beatrice Washington with eating and

                 failed to provide her a proper diabetic diet, as required for adequate nutrition to maintain

                 proper glucose levels.


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                  68.         While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Nursing Home Defendants failed to provide basic care to ensure Beatrice

          Washington's quality of care and quality of life.

                  69.         While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Nursing Home Defendants failed to provide Beatrice Washington assistance with

          activities of daily living, hygiene and grooming and failed to sufficiently document the

          bathing, oral hygiene, grooming, and/or dressing provided to Beatrice Washington

          during her admission.

                  70.         While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Nursing Home Defendants failed to provide Beatrice Washington skin care

          treatments to maintain skin integrity.

                  71.         While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Nursing Home Defendants failed to document provision of Resident Right's, Social

          Services, or Restorative Care to Beatrice Washington.

                      72.     Nursing Home Defendants were negligent in the hiring, training, retention

          and supervision of non·medical, caretaking staff and the professional nursing staff at the

          Premier facility.

                      73.     Nursing Home Defendants understood that staffing at minimum levels did

          not necessarily meet the needs required by residents at Premier Health and

          Rehabilitation, LLC, such as Beatrice Washington.           Nursing Home Defendants also

          were aware that the biggest expenditure in their operating budget was staffing the

          facility.         Nursing Home Defendants sought and kept staffing at or below minimum




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        levels, knowing that this staffing strategy would result in injury to residents at Premier

        Health and Rehabilitation, LLC, including Beatrice Washington.

               74.    The foregoing breaches of duties of ordinary care owed by the Nursing

        Home Defendants, in a natural and continuous sequence, were each a proximate cause

        of the injuries incurred by Beatrice Washington at Premier Health and Rehabilitation,

        LLC, including her untimely death, and without which, the injuries alleged herein would

        not have occurred.

               75.    A reasonable nursing home, operating under the same or similar

        circumstances as Premier Health and Rehabilitation, LLC, would not have breached the

        above-described duties of care.       It was reasonably foreseeable that the injuries

        described herein, including Beatrice Washington's death, would result from the

        breaches of duties of care set out above.

               76.    Due to the injuries proximately caused by Nursing Home Defendants, the

        Estate of Beatrice Washington is entitled to be compensated by an amount of money

        which will reasonably and fairly compensate it for damages and which includes, but is

        not limited to, compensation for serious physical and emotional injuries, expenses for

        medical care, treatment and services, pain and suffering and mental anguish,

        disfigurement and other visible results of Beatrice Washington's injuries, disability,

        degradation, loss of personal dignity, loss of life and related expenses, in an amount to

        be determined by a jury, and exceeding the amount required for jurisdiction by the Court

        and the amount required for federal court jurisdiction in diversity of citizenship cases,

        plus costs, fees and all other relief to which the Plaintiff is determined to be entitled by

        law. The personal injuries suffered by Beatrice Washington caused her family to suffer


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      grief upon her death.    In addition to the Estate of Beatrice Washington's claim for

      compensatory damages, the wrongful death beneficiaries of Beatrice Washington

      request compensatory damages against Nursing Home Defendants for the wrongful

      death of Beatrice Washington, including their grief suffered, as well as the expenses of

      funeral and other related expenses.

             77.    In addition to compensatory damages for the actual losses that Beatrice

      Washington and her wrongful death beneficiaries sustained, Plaintiff also is entitled to

      recover punitive damages for the negligent conduct of Nursing Home Defendants. The

      Plaintiff alleges that Nursing Home Defendants knew, or ought to have known, in the

      light of the surrounding circumstances, that their conduct and the manner in which

      Premier Health and Rehabilitation, LLC was operated, would naturally and probably

      result in injury to residents, such as Beatrice Washington, and yet Nursing Home

      Defendants continued such conduct with actual malice or in reckless disregard of the

      consequences from which malice may be inferred.

             II.   Cause of action for medical malpractice negligence and failures in
                   professional standards of care imposed on a long-term care facility.

            78.    Wrongful conduct by Nursing Home Defendants, their agents and

      employees, also included acts or omissions constituting professional medical or nursing

      negligence, pursuant to the Actions for Medical Injury Act, Arkansas Code sections

      16-114-201   et seq., to the extent the above--described injuries incurred by Beatrice
      Washington included ·medical injuries," as defined by that Act.

            79.    Each of the Nursing Home Defendants was either a "medical care

      provider" or was vicariously liable for the conduct of a "medical care provider," as

      defined by the Act, Arkansas Code section 16-114-201 (2), in relevant part, as a nurse,

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             nursing home, or an officer, employee or agent thereof acting in the course and scope

             of employment in the providing of such medical care or medical services.

                    80.     In diagnosing the condition of and treating a patient through the provision

             of services requiring the judgment, skills and/or training of licensed medical or nursing

             personnel, a nursing home has a professional duty to possess and apply with

             reasonable care the degree of skill and learning ordinarily possessed and used by

             members of the same profession in good standing, engaged in the same skilled nursing

             home practice in the locality in which the nursing home practices or in a similar locality.

                    81.     While Beatrice Washington resided at Premier Health and Rehabilitation,

             LLC, Nursing Home Defendants failed to timely assess, care plan, document and order

             use of pressure relieving devices to prevent or relieve skin breakdown and blisters, as

             well as failing to professionally monitor their use.

                    82.    While Beatrice Washington resided at Premier Health and Rehabilitation,

             LLC, Nursing Home Defendants failed to timely assess, care plan, document and

             prevent or treat inner ear and urinary tract infections.

                    83.    While Beatrice Washington resided at Premier Health and Rehabilitation,

             LLC, Nursing Home Defendants failed to timely assess, care plan, document and

             prevent or treat Beatrice Washington's diabetes and her known risk for fluctuation in her

             blood sugar levels.

                    84.    While Beatrice Washington resided at Premier Health and Rehabilitation,

             LLC, Nursing Home Defendants failed to timely assess, care plan, document and

             prevent or treat altered skin integrity.




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            85.    While Beatrice Washington resided at Premier Health and Rehabilitation,

     LLC, Nursing Home Defendants failed to timely assess, care plan, document and

     prevent, treat or manage pain.

            86.    While Beatrice Washington resided at Premier Health and Rehabilitation,

     LLC, Nursing Home Defendants failed to timely assess, care plan, document and notify

     Beatrice Washington's physician and family about substantial changes in her condition

     and mental status, as well as failing to timely notify her family about transfers from

     Premier Health and Rehabilitation, LLC due to hospitalization.

            87.   While Beatrice Washington resided at Premier Health and Rehabilitation,

     LLC, Nursing Home Defendants failed to timely assess and notify a physician regarding

     changes in Beatrice Washington's medical condition.

            88.   While Beatrice Washington resided at Premier Health and Rehabilitation,

     LLC, Nursing Home Defendants maintained inadequate nursing records and were

     incomplete in documenting nursing care.

           89.    The foregoing breaches of duties of professional medical and nursing

     standards of care owed by Nursing Home Defendants, in a natural and continuous

     sequence, were each a proximate cause of the injuries incurred by Beatrice Washington

     at the Premier facility, including her untimely death, and without which breaches of care

     her injuries and untimely death would not have occurred.

           90.    A nursing home, in good standing and engaged in the practice of skilled

     long-term care in the same or a similar locality, would not have breached the above-

     described duties of professional medical or nursing care. It was reasonably foreseeable




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that the injuries described herein, including Beatrice Washington's untimely death,

would result from the breaches of duties of professional care set out above.

       91.    Due to the injuries proximately caused by the professional medical and

nursing negligence of the Nursing Home Defendants, the Estate of Beatrice Washington

is entitled to be compensated by an amount of money, which will reasonably and fairly

compensate it for damages and which includes, but is not limited to, compensation for

serious physical and emotional injuries, necessary medical care, treatment and

services, pain and suffering and mental anguish, disfigurement and other visible results

of Beatrice Washington's injuries, disability, degradation, loss of personal dignity, loss of

life, and related expenses in an amount to be determined by a jury, and exceeding the

amount required for jurisdiction by the Court and the amount required for federal court

jurisdiction in diversity of citizenship cases, plus costs, fees and all other relief to which

the Plaintiff is determined to be entitled by law.      The personal injuries suffered by

Beatrice Washington caused her family to suffer grief upon her death. In addition to the

Estate of Beatrice Washington's claim for compensatory damages, the wrongful death

beneficiaries of Beatrice Washington request compensatory damages against Nursing

Home Defendants for the wrongful death of Beatrice Washington, including their grief

suffered, as well as the expenses of funeral and other related expenses.

       92.    In addition to compensatory damages for the actual losses that Beatrice

Washington and her wrongful death beneficiaries sustained, Plaintiff also is entitled to

recover punitive damages for the professional medical and nursing negligence of

Nursing Home Defendants. The Plaintiff alleges that Nursing Home Defendants knew,

or ought to have known, in the light of the surrounding circumstances, that their conduct



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        and the manner in which the Premier facility was operated would naturally and probably

        result in injury to residents, such as Beatrice Washington.          Yet, Nursing Home

        Defendants continued such conduct with actual malice or in reckless disregard of the

        consequences from which malice may be inferred.

               Ill.      Cause of action for civil conspiracy.

               93.       Even if some of the Nursing Home Defendants did not directly participate

        in the tortious acts described in the preceding paragraphs, they are liable for a

        conspiracy promoting wrongful conduct in a manner that caused injury to Beatrice

        Washington.

               94.       Nursing Home Defendants had actual agreements regarding the patient

        census, levels of staffing, and amount of funds to be used in operating the Premier

        Health and Rehabilitation facility.

               95.       Nursing Home Defendants actively monitored deficiencies in care at the

        Premier Health and Rehabilitation facility, as cited by the State of Arkansas in surveys,

        and were aware both prior and during the residence of Beatrice Washington that the

        operating funds being expended at the facility were not sufficient to meet the needs of

        the residents.

               96.       Each Nursing Home Defendant performed a part so that their acts,

        although seemingly independent, were in fact connected and cooperative, indicating a

        closeness of personal association and a concurrence of sentiment.

              97.     Additionally, each Nursing Horne Defendant is liable for conspiracy to the

        extent any act or declaration was made by another Defendant in furtherance of the

        conspiracy.


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                        98.    One or more of the Nursing Home Defendants engaged in a conspiracy to

                obtain HUD financing for the purchase and lease of the Premier facility, in order to profit

                from the leases and fees, knowing that adequate operating funds would not be provided

                to meet the needs of residents such as Beatrice Washington.

                        99.    It may be inferred from Nursing Home Defendants' actions that, knowing

                the risks and dangers such conduct posed to residents such as Beatrice Washington,

                Nursing Home Defendants pursued a course of conduct to divert Medicare and

                Medicaid funds intended to be used for patient care and services and, instead, funneled

                that money into corporate profits.

                        100.   Due to the injuries proximately caused by the tortious acts done in

                furtherance of a conspiracy between the Nursing Home Defendants, the Estate of

                Beatrice Washington is entitled to be compensated by an amount of money which will

                reasonably and fairly compensate for her damages and which includes, but is not

                limited to, compensation for serious physical and emotional injuries, expenses for

                medical care, treatment and services, pain and suffering and mental anguish,

                disfigurement and other visible results of Beatrice Washington's injuries, disability,

                degradation, loss of personal dignity, loss of life, and related expenses in an amount to

                be determined by a jury, and exceeding the amount required for jurisdiction by the Court

                and the amount required for federal court jurisdiction in diversity of citizenship cases,

                plus costs, fees and all other relief to which the Plaintiff is determined to be entitled by

                law.

                        101.   In addition to compensatory damages for the actual losses that Beatrice

                Washington sustained, Plaintiff also is entitled to recover punitive damages for the civil



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                 conspiracy on the part of the Nursing Home Defendants. Plaintiff alleges that Nursing

                 Home Defendants knew, or ought to have known, in the light of the surrounding

                 circumstances, that their conspiracy in the manner in which the Premier Health and

                 Rehabilitation facility was operated would naturally and probably result in injury to

                 residents, such as Beatrice Washington. Yet, Nursing Home Defendants continued

                 such conduct with actual malice or in reckless disregard of the consequences from

                 which malice may be inferred.

                        Ill.   Cause of action against Premier Health and Rehabilitation, LLC, for
                               violations of resident's rights, pursuant to the Protection Of Long-
                               Term Care Facility Residents Act, Arkansas Code sections 20-10-
                               1201.

                        102. Among the Defendants, the licensee(s) of Premier Health and

                 Rehabilitation, LLC had statutorily-mandated duties to provide Beatrice Washington with

                 basic, nursing home resident's rights as set forth in the Protection of Long-Term Care

                 Facility Residents Act, Arkansas Code sections 20-10-1201 et seq.

                        103.   The Protection of Long-Term Care Facility Residents Act mandates the

                 development, establishment, and enforcement of basic standards for the health, care,

                 and treatment of persons in long-term care facilities; and mandates that the

                 maintenance and operation of long-term care facilities will ensure safe, adequate, and

                 appropriate care, treatment, and health of residents, such as Beatrice Washington.

                        104.   The Protection of Long-Term Care Facility Residents Act mandates that

                 every licensed facility shall comply with all applicable standards and rules of the Office

                 of Long-Term Care of the Arkansas Department of Human Services.

                       105.    The statutory duty imposed upon the licensee(s) of Premier Health and

                 Rehabilitation, LLC to prevent deprivation or infringement of the resident's rights of

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                      Beatrice Washington was non-delegable. Thus, among the Defendants, the licensee(s)

                      are directly liable to Plaintiff for any deprivation and infringement of Beatrice

                      Washington's resident's rights occurring as a result of their own action or inaction, and

                      as a result of the action or inaction of any other person or entity, including employees,

                      agents, consultants, independent contractors and affiliated entities, whether in-house or

                      outside entities, individuals, agencies or pools, as well as any deprivation and

                      infringement of Beatrice Washington's resident's rights caused by the Defendants'

                      policies, procedures, whether written or unwritten, and common practices.

                             106.   Any person or entity acting as an employee or agent of Premier Health
                      and Rehabilitation, LLC assumed and undertook to perform the licensee's non-

                      delegable and statutorily-mandated duty to provide and protect Beatrice Washington's

                      nursing home residenfs rights as set forth in Arkansas Code sections 20-10-1201 et

                      seq. in the operation and management of Premier Health and Rehabilitation, LLC.

                             107.   Notwithstanding the responsibility of the licensee(s) to protect and provide

                      for these statutorily-mandated, nursing home resident's rights, Defendants infringed

                      upon, and Beatrice Washington was deprived of, rights mandated by Arkansas Code

                      sections 20-10-1201 et seq. including, but not limited to, the following:

                             a)     The right to receive adequate and appropriate health care and protective

                      and support services, including social services, mental health services, if available,

                      planned recreational activities, and therapeutic and rehabilitative services consistent ·

                      with the resident care plan for Beatrice Washington with established and recognized

                      practice standards within the community, and with rules as adopted by federal and state

                      agencies, such rights include:


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                     1)      The right to receive adequate and appropriate custodial service, defined
                             as care for Beatrice Washington which entailed observation of diet and
                             sleeping habits and maintenance of a watchfulness over her general
                             health, safety, and well-being; and

                     ~       The right to receive adequate and appropriate residential care plans,
                             defined as a written plan developed, maintained, and reviewed not less
                             than quarterly by a registered nurse, with participation from other facility
                             staff and Beatrice Washington or her designee or legal representative,
                             which included a comprehensive assessment of the needs of Beatrice
                             Washington, a listing of services provided within or outside the facility to
                             meet those needs, and an explanation of service goals;

                     b)      The right to regular, consultative, and emergency services of physicians;

                     c)      The right to appropriate observation, assessment, nursing diagnosis,

              planning, intervention, and evaluation of care by nursing staff;

                     d)      The right to access to dental and other health-related services,

              recreational services, rehabilitative services, and social work services appropriate to the

              needs and conditions of Beatrice Washington, and not directly furnished by the

              licensee(s);

                     e)      The right to a wholesome and nourishing diet sufficient to meet generally

              accepted standards of proper nutrition, guided by standards recommended by nationally

              recognized professional groups and associations with knowledge of dietetics, and such

              therapeutic diets as may be prescribed by attending physicians;

                    f)       The right to a facility with its premises and equipment, and conduct of its

              operations maintained in a safe and sanitary manner;

                    g)       The right to be free from mental and physical abuse, and from physical

              and chemical restraints;

                    h)       The right of Beatrice Washington to have privacy of her body in treatment

              and in caring for her personal needs;

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            i)     The right to prompt efforts by the facility to resolve resident grievances,

     including grievances with respect to resident care and the behavior of other residents;

            j)     The right to participate in social, religious, and community activities;

            k)     The right to the obligation of the facility to keep full records of the

     admissions and discharges of Beatrice Washington, and her medical and general health

     status, including:

            1)     medical records;

            2)     personal and social history; and

            3)     individual resident care plans, including, but not limited to, prescribed
                   services, service frequency and duration, and service goals;

            4)     making it a criminal offense to fraudulently alter, deface, or falsify any
                   medical or other long-term care facility record, or cause or procure any of
                   these offenses to be committed; and

            I)     The right to be treated courteously, fairly, and with the fullest measure of
                   dignity.

            108.   The above infringement and deprivation of the rights of Beatrice

     Washington were the result of Defendants failing to do that which a reasonably careful

     person would do under similar circumstances.

            109.   As a result of the aforementioned violations, the Estate of Beatrice

     Washington, pursuant to Arkansas Code section 20-10-1209(a)(4), is entitled to recover

     actual damages against the licensee(s) of the facilities.      Plaintiff asserts a claim for

     judgment for actual damages against the licensee(s) of Premier Health and

     Rehabilitation, LLC, including, but not limited to, medical expenses, extreme pain and

     suffering, otherwise unnecessary hospitalizations, disfigurement, disability, degradation,

     unnecessary loss of personal dignity, emotional distress, loss of life and related



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                expenses, in an amount to be determined by the jury and exceeding that required for

                federal court jurisdiction in diversity of citizenship cases, plus costs and all other relief to

                which Plaintiff is entitled by law.

                            110.   The infringement or deprivation of the resident's rights of Beatrice

                Washington by Defendants was willful, wanton, gross, flagrant, reckless, or consciously

                indifferent. Pursuant to Arkansas Code section 20-10-1209(c), Plaintiff is entitled to

                recover punitive damages against the licensee(s) of Premier Health and Rehabilitation,

                LLC.

                                 CAUSES OF ACTION AGAINST ADMINISTRATOR DEFENDANT

                            I.     Cause of action for ordinary negligence and failures in ordinary
                                   duties of care.

                            111.   Administrator Defendant undertook duties of care to the residents at the

                facility.

                            112. Administrator Defendant had a duty to administrate Premier Health and

                Rehabilitation, LLC in a manner that enabled it to use resources effectively and

                efficiently to attain or maintain the highest practicable physical, mental and

                psychological well-being of each resident.

                            113.   Based upon the state surveys of the facility and the assessments of

                Beatrice Washington alleged in the above paragraphs, it was foreseeable to

                Administrator Defendant that harm would result to Beatrice Washington if Administrator

                Defendant did not use ordinary care to administrate the facility in compliance with

                accepted professional and industry standards and principles that apply to professionals

                providing services in such facilities.



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        114.    Among the duties Administrator Defendant owed to Beatrice Washington

as the administrator of Premier Health and Rehabilitation, LLC, was the duty to use

ordinary care to ensure that trained and qualified s~aff, in sufficient numbers, were

available to provide Beatrice Washington the care and attention reasonably required by

her mental and physical condition, and to ensure that the orders and directions of

Beatrice Washington's attending physician and care plan were followed regarding her

activities of daily living and ordinary caretaking.

        115.    While Beatrice Washington resided at Premier Health and Rehabilitation,

LLC, Administrator Defendant failed to ensure that trained and qualified staff, in

sufficient numbers, were available to assist Beatrice Washington with her activities of

daily living.

        116.    While Beatrice Washington resided at Premier Health and Rehabilitation,

LLC, Administrator Defendant failed to supervise nurses and nurses' aides and failed to

hire sufficient nurses and nurses' aides, and as such, the nurses and nurses' aides were

unable to provide Beatrice Washington the care she required.

        117.    While Beatrice Washington resided at Premier Health and Rehabilitation,

LLC, Administrator Defendant failed to adequately assess, evaluate, and supervise

nursing personnel to ensure that Beatrice Washington received appropriate nursing

care.

        118.    While Beatrice Washington resided at Premier Health and Rehabilitation.

LLC, Administrator Defendant failed to adequately screen, evaluate, and test for

competence in selecting personnel to work at the facility.




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                 119.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          lLC, Administrator Defendant failed to ensure that Beatrice Washington attained and

          maintained her highest level of physical, mental, and psychosocial well-being.

                 120.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          lLC, Administrator Defendant failed to ensure that Beatrice Washington received

          sufficient amounts of fluids to prevent dehydration and infections.

                 121.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Administrator Defendant failed to ensure that Beatrice Washington received a

          diabetic diet and adequate nutrition to prevent fluctuations in her blood sugar levels.

                 122.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Administrator Defendant failed to provide a sanitary environment to ensure good

          hygiene and to prevent the development of infections.

                 123.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Administrator Defendant failed to ensure that Beatrice Washington             received

          nutrition, care, treatment, and medication as prescribed or in accordance with

          physician's orders;

                 124.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          LlC, Administrator Defendant failed to ensure that Beatrice Washington was treated

          with the dignity and respect that all nursing home residents are entitled to receive.

                 125.   While Beatrice Washington resided at Premier Health and Rehabilitation,

          LLC, Administrator Defendant failed to provide a safe environment for Beatrice

          Washington.




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                                126.    While Beatrice Washington resided at Premier Health and Rehabilitation,

                         LLC, Administrator Defendant failed to take reasonable steps        to prevent, eliminate, and
                         correct deficiencies and problems in resident care at the facility.

                                127.    While Beatrice Washington resided at Premier Health and Rehabilitation,

                         LLC, Administrator Defendant failed to ensure that Beatrice Washington was timely

                         turned and repositioned, or that she received prescribed medication and treatment to

                         prevent the development or worsening of skin breakdown and blisters.

                                128.   While Beatrice Washington resided at Premier Health and Rehabilitation,

                         LLC, Administrator Defendant failed to investigate the relevant facts, underlying

                         deficiencies, or licensure violations or penalties found to exist at the facility by the Office

                         of Long Term Care or any other authority.

                                129.   While Beatrice Washington resided at Premier Health and Rehabilitation,

                         LLC, Administrator Defendant failed to establish the method and means for correcting

                         deficiencies or licensure violations or penalties found to exist at the facility.

                                130.   While Beatrice Washington resided at Premier Health and Rehabilitation,

                         LLC. Administrator Defendant failed to determine whether the facility had sufficient

                         numbers of personnel to meet the total needs of Beatrice Washington.

                                131.   While Beatrice Washington resided at Premier Health and Rehabilitation,

                         LLC, Administrator Defendant failed to document, maintain files, investigate, and

                         respond to any complaint regarding the quality of resident care, or misconduct by

                         employees at the facility, regardless of whether such complaint derived from a resident

                         of said facility, an employee of the facility, or any interested person.




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                   132.   While Beatrice Washington resided at Premier Health and Rehabilitation,

            LLC, Administrator Defendant failed to ensure that Beatrice Washington was provided

            with basic and necessary care and supervision.

                   133.   While Beatrice Washington resided at Premier Health and Rehabilitation,

            LLC, Administrator Defendant failed to adequately hire, train, supervise and retain a

            sufficient amount of competent and qualified registered nurses, licensed vocational

            nurses, nurse assistants and other personnel in said facility to assure that Beatrice

            Washington received care, treatment, and services in accordance with duties owed, and

            industry and community standards and practices.

                   134.   While Beatrice Washington resided at Premier Health and Rehabilitation,

            LLC, Administrator Defendant failed to assign nursing personnel at the facility duties

            consistent with their education and experience based on Beatrice Washington's medical

            history and condition, and her nursing and rehabilitative needs; the characteristics of the

            resident population residing in the area of the facility where Beatrice Washington was a

            resident; and nursing skills needed to provide care to such resident population.

                   135.   While Beatrice Washington resided at Premier Health and Rehabilitation,

            LLC, Administrator Defendant failed to provide sufficient numbers of qualified personnel,

            to ensure that Beatrice Washington was provided with a safe environment, received

            timely and accurate care assessments, received prescribed treatment, medication and

            diet, and was protected from abuse and mistreatment.

                   136.   While Beatrice Washington resided at Premier Health and Rehabilitation,

            LLC, Administrator Defendant failed to proper1y in-service and orient employees to

            pertinent resident care needs to maintain the safety of residents.


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               137.   While Beatrice Washington resided at Premier Health and Rehabilitation,

        LLC, Administrator Defendant failed to protect Beatrice Washington from abuse and

        neglect.

               138.   While Beatrice Washington resided at Premier Health and Rehabilitation,

        LLC, Administrator Defendant failed to administer the facility in a manner that enabled it

        to use its resources effectively and efficiently to attain or maintain the highest

        practicable physical, mental and psychosocial well-being of Beatrice Washington.

              139.    While Beatrice Washington resided at Premier Health and Rehabilitation,

        LLC, Administrator Defendant failed to document and maintain all records on Beatrice

        Washington in accordance with accepted professional standards and practice that were

        complete, accurately documented, readily accessible, and systematically organized with

        respect to her diagnosis, treatment, and appropriate care plans of care and treatment.

              140.    The foregoing breaches of duties of ordinary care owed by the

        Administrator Defendant, in a natural and continuous sequence, were each a proximate

        cause of the injuries incurred by Beatrice Washington at Premier Health and

        Rehabilitation, LLC, and without which, the injuries would not have occurred.

              141.    A reasonable nursing home administrator, operating under the same or

        similar circumstances as Administrator Defendant would not have breached the above-

        described duties of care.   It was reasonably foreseeable that the injuries described

        herein would result from the breaches of duties of care set out above.

              142.    Due to the injuries proximately caused by Administrator Defendant, the

        Estate of Beatrice Washington is entitled to be compensated by an amount of money

        which will reasonably and fairly compensate it for damages, which includes, but is not


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        limited to, compensation for serious physical and emotional injuries, expenses for

        medical care, treatment and services, pain and suffering and mental anguish,

        disfigurement and other visible results of Beatrice Washington's injuries, disability,

        degradation, loss of personal dignity, loss of life and related expenses, in an amount to

        be determ.ined by a jury, and exceeding the amount required for jurisdiction by the Court

        and the amount required for federal court jurisdiction in diversity of citizenship cases,

        plus costs, fees and all other relief to which the Plaintiff is determined to be entitled by

        law.

                                            DEMAND FOR JURY TRIAL

                  143. Plaintiff demands a trial by jury.

                                        PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff, Rhonda G. Jones, as Administratrix of the Estate of

        Beatrice Washington, deceased, and on behalf of the wrongful death beneficiaries of

        Beatrice Washington, prays for judgment against Defendants as follows:

                 1.    For damages in an amount adequate to compensate Plaintiff for the

        injuries and damages sustained.

                2.     For all general and special damages caused by the alleged conduct of

        Defendants.

                3.     For costs of litigating this case.

                4.     For punitive damages sufficient to punish Defendants for their egregious

        and malicious misconduct in reckless disregard and conscious indifference to the

        consequences to Beatrice Washington and her statutory beneficiaries and to deter

        Defendants and others from repeating such atrocities.


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                                5.   For all other relief to which Plaintiff is entitled.

                                                                    Respectfully submitted,

                                                                   Rhonda G. Jones, as Administratrix of the
                                                                   Estate of Beatrice Washington, deceased, and
                                                                   on behalf of the wrongful death beneficiaries of
                                                                   Beatrice Washington




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